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January 14, 2019

BY ECF

The Honorable Lorna G. Schofield
United States District Judge

for the Southern District of New York
40 Foley Square
New York, New York 10007

Re: Jane Doe, et al. v. The Trump Corporation, et al., 18-cv-09936 (LGS)
Dear Judge Schofield:

Pursuant to the Court’s order dated December 2(), 2018 (ECF No. 54), the Defendants in
the captioned matter are today filing and serving by ECF their Motion to Dismiss the Complaint,
together With a supporting Memorandum of LaW and Affirmation of Cynthia Chen, Esq.
Because certain exhibits to Ms. Chen’s Affirmation are video discs Which “cannot be reasonably
scanned” for ECF filing, We write, pursuant to Section 5.2 of the Court’s Electronic Case Filing
Rules & Instructions, respectfully to ask the Court’s permission to file With the Court and serve
Plaintiffs With hard copies of Ms. Chen’s affirmation and the exhibits, in addition to proceeding
by ECF.

We also Write respectfully for permission to include With Ms. Chen’s affirmation more
than the 15 exhibits specified in Rule III.B.3 of the Court’s lndividual Rules and Procedures for
Civil cases. Ms. Chen’s affirmation runs to five pages, Which is less than the lS-page limit set
by the Court’s rules, but it references 29 exhibits, some of Which exceed the lS-page limit set by
the Court for exhibits These numbers overstate the volume of material to be included, however,
because they include copies of video discs referenced in the Complaint, Which, although
physically one item (a DVD and its packaging), are reproduced as three exhibits: side one of the
disc in question, side two of the disc, and the packaging or dressing in Which the disc appears.
The number of exhibits noted also includes transcripts of the DVD exhibits, Which We have
included as an aid to the Court and the parties, and these enlarge the number of exhibits, as Well.

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We note that the exhibits to Ms. Chen’s affirmation all consist of video footage and ACN
print material relied upon by the Plaintiffs in their Complaint or Which are integral to it.

If Your Honor is inclined to grant these requests, We respectfully ask that Your Honor
memo endorse this letter motion.

Respect ully submitted,

law

Joanna C. Hendon

SO ORDERED:
Hon. Lorna G. Schofield
UNITED STATES DISTRICT JUDGE

 

